                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

     URUJA RAZZAK                                       )
                                                        )   No. 1:22-cv-3990
                      Plaintiff,                        )
                                                        )   Hon. Sharon Johnson Coleman
                          v.                            )   District Court Judge
                                                        )
     ROUNDY’S ILLINOIS, LLC D/B/A                       )
     MARIANO’S                                          )   JURY DEMAND
                                                        )
                     Defendant.                         )
                         PLAINTIFF’S RESPONSE IN OPPOSITION
                    TO DEFENDANT’S RULE 12(B)(6) MOTION TO DISMISS

I.      INTRODUCTION

        As this Court is aware, along with various other judges of the Northern District, Defendant

(Roundy’s) has filed Rule 12(b)(6) motions in 15 different cases, including here, wherein former

employees (called “People Services Managers or “PSMs”) have brought nearly identical wage and

hour claims, all originating from what PSMs assert was Roundy’s implementation of an improper

salary misclassification. The pertinent procedural history, as developed in Roundy’s opening brief

and touched on below, is not only simple, but for purposes of the coordinated dismissal attacks,

the relevant procedural history governing all of Roundy’s dismissal motions is identical.

        After decertification of an FLSA collective action that Plaintiff (and others) joined via opt-

in Consent, all 15 Plaintiffs, including this Plaintiff, re-filed their claims in a “group complaint”

pursuant to Rule 20 (hereinafter the “Cunningham, et al.” matter) four (4) days after the date Judge

Bucklo indicated in an order was the date by which each “may re-file their claims”. Roundy’s

asserts that those four (4) days eliminate a perfectly healthy and otherwise valid statute of

limitations - a limitations period firmly tethered to a discernable date on the calendar: i.e., the filing

of Plaintiff’s original Consent form to join the FLSA collective action that was before Judge



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Bucklo in the matter of Haugen v. Roundy’s Illinois, LLC, Case No. 18-cv-07297. The preservation

of that “relating back” date was not destroyed by the four (4) day delay, as Defendant argues.

Instead, as will be demonstrated infra, the harshest ruling available under the circumstances of the

four (4) day delay is that when Judge Bucklo’s tolling date passed, Plaintiff’s limitations period

again started to run, and those four (4) days of limitations were lost. But the entire limitations

period was not extinguished. Of course, Defendant is not looking to eliminate just the four (4) days

it might be entitled to. Rather, Defendant asserts those few days entitle it to a complete eradication

of this claim and 14 others without ever measuring the merits and without establishing even an

ounce of prejudice, unfairness, or compromise in Defendant’s ability to defend the claims on the

merits.

          Here, Plaintiff submits that the language Judge Bucklo used in decertifying the original

collective action did not amount to anything even resembling a definitive “file or else” or

“dismissed with prejudice” mandate because, very likely, her Honor understood that the re-filing

date she established related only to the tolling of the expiration of applicable limitations periods –

not the obliteration of such time. Even if the limitations period did start to run for those few days,

that notion does not disturb all other established concepts of “relating back” for purposes of the

statute of limitations. Additionally, the Otis case that anchors Defendant’s argument for dismissal

differs substantially as to facts and legal inquiry. Moreover, in electing to move for severance in

direct response to the Cunningham, et al. matter as its first and only submission at the pleading

stage, Defendant waived the Rule 12(b)(6) arguments asserted now. Finally, this Court possesses

the discretion to honor the judiciary’s long-standing and strong preference for having claims

judged on the merits instead of dismissal under technical provisions, especially when a Defendant

can show no disadvantage growing out of a simple 4-day delay.




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II.     BRIEF RECAP OF PROCEDURAL HISTORY

        Roundy’s has, to date, successfully avoided any ruling from any court in this District as to

the merits of the alleged misclassification of PSMs in its Chicagoland Mariano’s stores (although

two (2) claims from the Haugen matter were resolved via settlement conference with Hon.

Magistrate Judge Shelia M. Finnegan).1 Instead, Defendant has sought piece-meal relief over the

course of three (3) years. Initially, Defendant sought decertification of a collective action. Next,

Defendant elected to forgo any Rule 12(b)(6) argument for dismissal for a significant period and

instead pursued severance before this Court. Lastly, Defendant seeks the instant dismissal motions

on an individual basis.

        The chosen defense plan has certainly utilized all the available rules. To date, the results

appear on the surface to have been successful, albeit accomplished at the cost of burning valuable

resources of the Parties and the various courts along the way. Still short of the merit of the claims,

Defendant seeks to have Plaintiff’s claims dismissed based on an attenuation and stretching of

technical aspects of civil procedure, and the wholesale discounting of the difference between

tolling and running (or expiration) of a limitations period.

        A.       Plaintiff’s Original Joinder to the Haugen Collective Action

             On January 31, 2020, Plaintiff filed her FLSA Consent form to join a conditionally

certified collective action pursuant to 29 U.S.C. §216(b) in the matter of Haugen, et al. v. Roundy’s

Illinois, LLC. See Haugen Dkt. 57. That date serves as the commencement of Plaintiff’s claims

against Defendant and sets the water mark for the two (2) year or three (3) year limitations period

as governed by the federal and state statutes in play.2


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  The original named Plaintiffs in the Haugen matter later settled their claims against Defendant following
a second settlement conference before Hon. Sheila M. Finnegan. As required by 7th Circuit precedent (see
Salcedo v. D’Arcy Buick GMC, Inc. 227 F.Supp.3d 960, the settlement was approved on the record. See
Haugen Dkt. 148, 149.
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  FLSA action commences upon filing of consent form. See 29 U.S.C. §216(b).
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           After decertification by Judge Bucklo, Plaintiff refiled her claim along with several

other PSM plaintiffs in a single complaint, pursuant to Rule 20 (the Cunningham, et. al. case). On

July 6, 2022, Judge Kendall issued a ruling severing the 23 Plaintiff PSM claims which had been

filed together. Judge Kendall’s ruling required severed Plaintiffs to file individual wage actions,

under standalone case numbers, and pay the filing fee. This Court’s opinion reasoned that since

the joined claims in Cunningham, et. al. were previously decertified as a collective action,

severance of the claims under Rule 20 was warranted.3 Plaintiff then filed her individual claim, as

instructed by this Court, and the matter was randomly assigned here.

           Defendant now argues Plaintiff’s claim must be dismissed with prejudice, or

alternatively substantially dismissed due to a “wiped out” statute of limitations period, because

following decertification by Judge Bucklo, the refiling of Plaintiff’s claim in the joined

Cunningham et. al. complaint pursuant to Rule 20 was filed four (4) days later than the date

established by Judge Bucklo’s tolling order. Defendant seeks the extraordinary and inequitable

remedy of completely extinguishing Plaintiff’s claims due to a minor, non-prejudicial and

inconsequential delay. Not only would such a finding be inequitable, as the federal courts prefer

cases to be decided and adjudicated based upon their merits but would also be contrary to

established law. As will be shown, those four (4) days represent nothing more than the limitations

period temporarily starting to run again – for a short four (4) days, tolled again by the group filing

in Cunningham, et. al. For these reasons and others argued infra, this Court should deny

Defendant’s Motion to Dismiss.




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  Presently pending before Judge Kendall is Plaintiff Cunningham’s Motion to Consolidate Cases Pursuant
to Rule 42 and Reassign Related Cases Pursuant to Local Rule 40.4, wherein Plaintiff asserts that all 15
Motions to Dismiss should be decided by (1) court (i.e., Judge Kendall, who has the lowest assigned case
number) so as to assure consistent rulings upon identical facts and law.
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III.    ARGUMENT

        A.       Defendant Ignores Well-Settled Law in This District Which Confirms the Claims of
                 Decertified and Severed Plaintiffs Relate Back to the Date Their Consent Forms Were
                 Filed as Part of Joinder to a Collective Action, Therefore Preserving Plaintiff’s Entire
                 Claim

        Defendant requests this Court either dismiss Plaintiff’s entire claim with prejudice or that

a significant portion of Plaintiff’s claims are time-barred. See, generally, Defendant’s Rule

12(b)(6) Motion to Dismiss (“Def. Mtn.”). Defendant asserts Plaintiff’s slightly delayed re-filing

as part of Cunningham, et. al. results in these extreme remedies. However, Defendant ignores case

law from this District that establishes a plaintiff’s FLSA claims, which were initially asserted as

part of a later-decertified collective action, relate back to the date of filing of that plaintiff’s consent

form pursuant to Rule 15, and the limitations period is thus tolled.

        As stated, supra, Plaintiff’s consent form to join the Haugen collective action was filed on

January 31, 2020. Haugen Dkt. 57. A plaintiff’s statute of limitations for FLSA is tolled as of the

date of filing of the consent form to join a collective action under 29 U.S.C. §216(b) Harkins v.

Riverboat Servs., Inc., No. 99 C 123, 2002 WL 32406581, at *2 (N.D. Ill. May 17, 2002), aff'd,

385 F.3d 1099 (7th Cir. 2004); Watt v. Fox Rest. Venture, LLC, No. 17-CV-2104, 2019 WL

698058, at *3 (C.D. Ill. Feb. 20, 2019).4 Following decertification of the Haugen collective action,

which took place many months after Plaintiff’s Consent was filed, upon all Plaintiffs’ request,

Judge Bucklo granted Plaintiffs’ Motion to Toll Statute of Limitations over staunch objection by

Defendant. See Haugen, Dkt. 131.5 Plaintiff next refiled her claims, along with several other PSM

plaintiffs, under Rule 20 in the group Cunningham, et. al. complaint. As described, Judge Kendall

severed the claims pursuant to Rule 21, ordering each Plaintiff to file an individual claim.


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  Plaintiff alleges here that Defendant’s violations of the FLSA were willful, such that the expanded three
year statute of limitations applies.
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  Judge Bucklo, exercising her discretion regarding equitable tolling, tolled the statute of limitations for all
decertified Plaintiffs. See Haugen, Dkt. 131.
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Cunningham, et al., Dkt. 29, 30. Fifteen of the 23 severed Plaintiffs re-filed their claims as directed.

As demonstrated, Plaintiff herein has, as have all Plaintiffs in these related cases, taken great

measure to preserve the limitations period and satisfy the equitable “relating back” concept from

the very beginning of this procedurally challenged case.

        Illustrating the tolling concept and the powers of the Court to so toll, it is further established

that following severance of claims pursuant to Rule 21, the statute of limitations is tolled to allow

the severed plaintiff to refile an individual claim. See Miller v. Illinois Bell Tel. Co., 157 F. Supp.

3d 749, 757 (N.D. Ill. 2016) (“Chief Judge Castillo discussed limitations periods in the context of

severed claims in his March 2015 ruling when his explained that the remedy for misjoinder is

severance and not dismissal because district courts are ‘duty bound’ to prevent misjoinder from

‘lead[ing] to a dismissal with statute of limitation consequences[.]’” Adkins v. Illinois Bell Tel.

Co., No. 14 C 1456, 2015 WL 1508496, at *10 (N.D.Ill. Mar. 24, 2015) (quoting Elmore v.

Henderson, 227 F.3d 1009, 1012 (7th Cir. 2000)); See also Scott v. Chipotle Mexican Grill, Inc.,

No. 12-CV-8333 (ALC)(SN), 2017 WL 1434498, at *1 (S.D.N.Y. Apr. 19, 2017) ("In order to

avoid prejudice to opt-in plaintiffs, Courts may invoke equity powers to toll the statute of

limitations in FLSA collective actions after they have been decertified.").

        Moreover, the Court in Miller addressed a near-identical situation to the unique procedural

road Plaintiff’s claims has taken herein, and that case is instructive in this instance. In Miller,

Miller initially joined, by filing a signed opt-in consent, the conditionally certified collective action

matter of Blakes v. Ill. Bell Tel. Co., Case No. 11-cv-0336. The Blakes collective action was later

decertified, in part, by Hon. Magistrate Judge Young B. Kim. The decertified Blakes plaintiffs,

including Miller, then reasserted their claims in a joined complaint pursuant to Rule 20, known as

Tinoco v. Ill. Bell Tel. Co., No. 14-cv-1456. The Tinoco complaint, which included the joined

claims of approximately 140 plaintiffs, was later severed by Judge Castillo via Rule 21. The

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blueprint of the Miller case and this case is essentially identical. Defendant would have this Court

believe Plaintiff’s slight delay in refiling her claims in the Cunningham, et. al. matter under Rule

20 destroyed the linkage between each of these non-dispositive steps in the litigation. However,

Judge St. Eve was clear in Miller that to the extent a decertified plaintiff’s claims are unchanged

from those initially asserted by way of joinder prior to decertification, the claims will relate back

to the initial joinder and thus preserve the claims for the entire, original statute of limitations

period.

          In evaluating an identical set of facts, including a similar motion to dismiss filed by the

Illinois Bell defendant, Judge St. Eve reasoned that as an initial matter, courts in the Northern

District of Illinois had found that the severed claims “were not separate lawsuits, but [all] stem

from the Blakes Action based on the premise that ‘[t]he statute of limitations for a plaintiff in a

collective action is tolled after the plaintiff has filed a consent to opt in to the collective action, and

begins to run again if the court later decertifies the collective action.’” Miller v. Illinois Bell Tel.

Co., 157 F. Supp. 3d 749, 754 (N.D. Ill. 2016).6 Further, the Miller court and other courts deciding

the same issue (See Ballard v. Illinois Bell Tel. Co., No. 15 C 2687, 2015 WL 6407574 (N.D.Ill.

Oct. 21, 2015) and Hodges v. Illinois Bell Tel. Co., 15 C 2711, 2015 WL 6407757 (N.D.Ill. Oct.

21, 2015)), all concluded that “these lawsuits were not separate from the Blakes Action for Rule

15(c) purposes based on equitable considerations.” Miller at 754. Ultimately, Judge St. Eve found,

as Plaintiff urges the Court to find here, that despite an inconsequential and negligible delay in the

filing of the joined Cunningham, et al. matter, that “[d]ue to equitable considerations, [Plaintiff]'s

arguments are the more persuasive under the unique circumstances of this case … [a]ccordingly,

the Court applies the relation-back doctrine to Miller's claims”. Miller at 755–56. As the courts


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  However, the statute of limitations did not begin to run again as to Plaintiff’s claims following
decertification, because Judge Bucklo tolled the statute of limitations while Plaintiff took steps to reassert
her individual claims. See Haugen Dkt. 131.
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reasoned in each of the Miller, Ballard and Hodges matters, Plaintiff’s re-filing of her individual

complaint (under this caption) again tolled her limitations period, even if the limitations period

began to run again for the four (4) days prior to the refiling.

       Well-settled precedent exists as to the precise circumstances at issue here. Yet Defendant

seeks to improperly amplify a nondescript delay in re-filing to overcome the established roadmap

this District has developed in identical litigation scenarios. As Judge Castillo opined in Adkins,

relying on Seventh Circuit precedent, “the district court is ‘duty-bound’ to prevent misjoinder from

‘lead[ing] to a dismissal with statute of limitations consequences[.]’ Elmore v. Henderson, 227

F.3d 1009, 1012 (7th Cir. 2000). Thus, the Court must allow the severed claims ‘to continue as [ ]

separate suit[s] so that [they will] not be time-barred.’” Adkins v. Illinois Bell Tel. Co., No. 14 C

1456, 2015 WL 1508496, at *10 (N.D. Ill. Mar. 24, 2015) (cleaned up). Obviously, the intent of

the courts in these scenarios is to protect decertified and misjoined plaintiffs from motions to

dismiss on grounds of expired statutes of limitations. Judge Bucklo’s order did just that, even if

Plaintiff’s delay in refiling trimmed four (4) days from the applicable limitations period.

       B.      The Running of Plaintiff’s Statute of Limitations Was Tolled for All But a Few Days
               During the Entire Period Between Decertification and Refiling in Cunningham, et. al.
               Such That the Dismissal Sought by Defendant is Inappropriate

       The basis of Roundy’s dismissal motion ignores the premise that a tolling of the statute of

limitations merely pauses or suspends the running of the statute of limitations during the defined

tolling period, only to restart running once the equitable tolling period expires. See Ferrill v. City

of Milwaukee, 295 F. Supp. 2d 920, 924 (E.D. Wis. 2003) (“equitable tolling applies … the statute

of limitations is merely suspended”). Defendant cites the matter of Lee v. Cook Cnty., Ill., 635 F.3d

969, 971–72 (7th Cir. 2011) (and its reliance on Elmore, referenced above) as support for the

notion that following the without prejudice dismissal of Plaintiff’s claims by Judge Bucklo and the

passing of the expiration of the tolling of the statute of limitations, Plaintiff’s otherwise firmly


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established limitations period somehow automatically expired. Def. Mtn., pg. 10. Defendant states

that “if the suit is dismissed without prejudice, meaning that it can be refiled, then the tolling effect

of the filing of the suit is wiped out and the statute of limitations is deemed to have continued

running from whenever the cause of action accrued.” Elmore v. Henderson, 227 F.3d 1009, 1011

(7th Cir. 2000).

        But Defendant intentionally leaves out an important fact in play here that did not exist in

Elmore – Judge Bucklo affirmatively, and upon request by the Plaintiffs, tolled the statute of

limitations for the entire interim period between decertification and dismissal without prejudice,

up to the date she established as the end of the tolling period. The tolling order entered by Judge

Bucklo preserved the “wip[ing] out” of the statute of limitations following dismissal without

prejudice, rendering the Lee and Elmore cases cited by Defendant inapposite to the circumstances

at issue – particularly in light of the identical facts and law analyzed in Miller and related cases in

this District. Thus, this Court should deny Defendant’s Motion to Dismiss.

        C.      Judge Bucklo’s Clarification Order Never Directly or Indirectly Stated That the
                October 4, 2021 Date Was the Date Dismissal with Prejudice Would Occur Should
                Any Plaintiff Fail to Refile Their Claims by That Date

        As part of Defendant’s presentation to this Court supporting dismissal, Defendant

embellishes Judge Bucklo’s order and makes several statements asserting Plaintiff’s claims had

“already been dismiss[ed] with prejudice by Judge Bucklo”, “Judge Bucklo already dismissed

[Plaintiff’s] claims with prejudice”, and other similar representations. Def. Mtn., pgs. 5, 6.

However, it is clear from a plain reading of Judge Bucklo’s order and a review of the Haugen

docket that at no point did Judge Bucklo ever suggest, or even contemplate, that any Plaintiff’s

claim would or could be dismissed with prejudice. Nor did Judge Bucklo ever enter an order of

any kind dismissing Plaintiff’s claims with prejudice. Judge Bucklo properly entered an order

establishing the date upon which her tolling of the limitations period would expire.


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        Following the Haugen decertification, the decertified plaintiffs filed their Motion to Clarify

Dismissal of Opt-In Plaintiffs and Motion to Toll Statute of Limitations for Decertified Claims.

Haugen Dkt. 126. In granting Plaintiffs’ motion to toll the statute of limitations for all decertified

plaintiffs, Judge Bucklo also granted Plaintiffs’ request “to make clear that the August 5, 2021

order dismissed the opt-in plaintiffs without prejudice.” Haugen Dkt. 131 (emphasis added).

No plain reading of any order or any entry by Judge Bucklo indicates Plaintiff’s claims were ever

dismissed with prejudice, and such a result cannot just materialize from nowhere. This Court

should reject Defendant’s disingenuous description of Judge Bucklo’s order and deny its motion

to dismiss.

        D.      By Failing to Raise an Argument That the Late Refiling of the Decertified Claims
                Before Judge Kendall in Cunningham, et al. Were Barred at the Time That Complaint
                Was Filed, Defendant Waived That Argument and Cannot Advance it Now

        Following Judge Kendall’s order that severed the claims of the 23 joined claims in

Cunningham, et al. v. Roundy’s Illinois, LLC, 15 of the Plaintiffs filed individual complaints which

were randomly assigned across the Northern District. Each Plaintiff, including Plaintiff herein,

paid a separate filing fee with the Court, and had new, individual case numbers assigned by the

Clerk. Hence, any pleadings, motions or other procedural matters as to Cunningham, et al. v.

Roundy’s Illinois, LLC ceased. Now, roughly thirteen (13) months after the events Defendant

raises in its instant motion, Defendant improperly seeks to reprise that now-defunct proceeding.

This effort is at least one degree removed from ripeness because Roundy’s attacked the

Cunningham, et al. group re-filing with a severance motion and failed to assert the arguments

raised in its dismissal motion first.

        Generally, arguments that are not made in a party’s initial responsive pleading are forever

waived and cannot be reasserted in later proceedings. This includes assertion of an affirmative

defense of failure to state a claim upon which relief can be granted, including that a statute of


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limitations bars a particular claim. See Lewis v. Hermann, 775 F. Supp. 1137, 1143 (N.D. Ill.

1991); See United States v. Big D Enterprises, Inc., 184 F.3d 924, 935 (8th Cir. 1999) (“A defense

based upon the statute of limitations is generally waived if not raised in a responsive pleading. See

Fed.R.Civ.P. 8(c)”. Here, Defendant’s responsive pleading (the severance motion) as to the

Cunningham, et al. complaint has come and gone without any mention of either of the arguments

raised now.

       The proper time for Defendant to have advanced the argument that all the original

Cunningham, et al. Plaintiffs were barred because of the four (4) day delay, would have been at

the pleading stage of the original 23-plaintiff Cunningham, et al. matter (i.e., October 2021).

Defendant had ample and equal opportunity move to dismiss those joined claims with prejudice

(promoting each of the exact same arguments at issue now), as well as move to sever the alleged

misjoined claims at the same time. There exists no precedent or rule of civil procedure prohibiting

Defendant from filing a combined motion to dismiss and motion to sever claims – combined

motions of that nature are commonplace in federal practice. But Defendant chose not to do so. As

its responsive pleading in the group Cunningham, et al. case, Defendant could have certainly

moved to dismiss the claims for the reasons it articulates now and ask that alternatively, the claims

be severed if not all dismissed. See Spaeth v. Michigan State Univ. Coll. of L., 845 F. Supp. 2d 48,

50 (D.D.C. 2012) (“Before the Court are motions to dismiss, or in the alternative to sever and

transfer, brought by defendants”, where plaintiff sued six law schools alleging violations of the

Age Discrimination in Employment Act). Defendant has, at every juncture, seemed to want to have

different judges decide the life or death of these claims and spread that decision throughout the

entirety of the Northern District. That otherwise inexplicable desire has resulted in an untimely

motion to dismiss - a belated defense that should have been asserted at the pleading stage of the

original group Cunningham, et al. matter.

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       E.      Defendant’s Reliance on Otis is Misplaced Because of Significant Factual Differences
               with the Case at Bar, and Because in Otis the Seventh Circuit Addressed the Question
               of Appealability, Not the Question of Tolling of Statute of Limitations

       Defendant relies exclusively on the opinion of the Seventh Circuit in Otis v. City of

Chicago, 29 F.3d 1159, 1161, (7th Cir. 1994) and its progeny, in support of its argument that

Plaintiff’s claims be dismissed. Defendant’s reliance is misplaced. Defendant asserts the holding

in Otis for the proposition that a missed deadline automatically, unquestionably and in all

circumstances results in a dismissal of a claim with prejudice– not withstanding an otherwise alive

and well limitations period. First, that was not the holding of the Seventh Circuit in Otis.

Moreover, the question before the Seventh Circuit was completely different. In Otis, the question

presented was at what point in time a particular issue was ripe for appeal – not an evaluation of

claim preclusion or statute of limitations consequences of a missed deadline. Further, the

underlying facts in Otis that resulted in the dismissal of those claims with prejudice were vastly

different than here, where Plaintiff has diligently pursued her claims and zealously protected the

limitations period.

       In Otis, the plaintiff alleged the City of Chicago illegally discriminated against her and the

district court appointed her counsel. Id. Over the course of the litigation, Otis displayed constant

dereliction in pursuing her claim. Id. Following numerous periods of non-action and upon Otis’s

failure to attend a status hearing and deposition, the district court advised Otis “that ‘[f]ailure to

cooperate with counsel will result in dismissal’ of the case”, and admonished Otis: ‘[I]f you miss

any of those dates, your case is over.’”. Id. at 1162. Otis continued to miss deadlines following the

court’s clear warnings, leading the court to enter an order granting Defendant’s motion to dismiss

for repeated failure to comply with the court’s orders. Id. However, the district court in Otis never

entered any subsequent order in the case, such as a judgment against Otis dismissing her case with




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prejudice, as required by Rule 58. Id. Otis did not file any pleadings for more than six (6) months

and filed a notice of appeal more than seven (7) months after the Court’s last order on the case. Id.

       The question presented to the Seventh Circuit was not whether a missed deadline should

result in an automatic dismissal with prejudice or complete eradication of a previously tolled

statute of limitations. Rather, the questions before the 7th Circuit panel were a) in the absence of a

Rule 58 judgment from the court, did a final order exist such that the plaintiff could appeal; and b)

whether a final order could be assumed in the absence of an actual entry by the trial court, thereby

starting the clock for a timely appeal. The Seventh Circuit distilled those questions down to the

following, single query: “[i]f the district court provides for conditional dismissal and neglects to

enter a Rule 58 judgment, may the plaintiff appeal?” Otis at 1164.

       Defendant argues, as its only precedential support, that the Otis decision, absent all nuance

and context, supports a dismissal with prejudice any time there is a failure to adhere to a court

deadline. That is simply not what the Otis court said. Defendant further contorts the holding in

Otis by stating that the Otis court “expressly overruled Hatch v. Lane, 854 F.2d 981, 982 (7th Cir.

1988), which previously held that a dismissal order granting leave to file an amended complaint

by a date certain did not become a final decision when time expired.” Def. Mtn. at pg. 8, ft. 3. But

in reviewing the actual text of the Otis opinion, no such blanket mandate appears in the Otis ruling.

Justice Easterbrook specifically qualified the Court’s overruling of Hatch, stating “[w]e

overrule Hatch … to the extent [it forbids] an appeal from a conditional order of dismissal

after the time to satisfy the condition has expired.” Otis at 1168 (emphasis added).

       The facts and circumstances embedded in the Otis decision are inapposite to the brief and

inconsequential delay in the refiling of Plaintiff’s complaint after decertification, and Otis offers

no support for the harsh consequences lobbied by Defendant herein.




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       F.      Courts Have Consistently Expressed a Strong Policy in Favor of Deciding Cases on
               Their Merits, And Even if This Court Finds That Judge Bucklo’s Tolling Did Not
               Save Plaintiff’s Claims from Expiration After a 4-Day Delay, the Inherent Discretion
               Possessed by This Court Allows a Decision Anchored Upon the Premise of Equity

       Federal courts have “a strong policy in favor of deciding cases on their merits”, which is

what Plaintiff seeks here. Wynant v. Kowaluk, No. 118CV01941TABWTL, 2018 WL 6831452, at

*2 (S.D. Ind. Dec. 28, 2018); “Generally speaking, it is desirable to resolve cases on their merits.”

Rual Trade Ltd. v. Viva Trade LLC, 549 F. Supp. 2d 1067, 1071 (E.D. Wis. 2008) (citing Yong–

Qian Sun v. Bd. of Trs., 473 F.3d 799, 811 (7th Cir.2007)); “If the case is close, “doubts should be

resolved in favor of reaching a decision on the merits.” Adams v. Trs. of the N.J. Brewery Emps.’

Pension Tr. Fund, 29 F.3d 863, 870 (3d Cir. 1994) (quoting Scarborough v. Eubanks, 747 F.2d

871, 878 (3d Cir. 1984)). Here, based upon these facts, no substantial circumstances exist such that

this Court should impose the harsh penalty of dismissal of a claim prior to a consideration of the

underlying merits.

       Defendant’s sole basis for outright extinguishment of Plaintiff’s claims is grounded in a

four (4) day delay. Even if this Court were to infer Judge Bucklo’s order clarifying the refiling

date was a “or dismissal with prejudice” mandate, this Court should exercise its discretion and set

aside the trivial four (4) day delay in the refiling of Plaintiff’s complaint in October 2021. The

Federal Rules of Civil Procedure, as well as precedent within this Circuit, underscore the ability

of this Court to exercise discretion as it relates to filing dates and other deadlines, especially when

no prejudice to a party is indicated.

       Federal Rule of Civil Procedure 6(b) provides: “When an act may or must be done within

a specified time, the court may, for good cause, extend the time ... on motion made after the time

has expired if the party failed to act because of excusable neglect.” Excusable neglect is a

somewhat “elastic concept,” … [i]n doing so, the Court takes “account of all relevant

circumstances surrounding the party's omission,” including “the danger of prejudice to the

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[nonmoving party], the length of the delay and its potential impact on judicial proceedings, the

reason for the delay, including whether it was within the reasonable control of the movant, and

whether the movant acted in good faith.” Hanson v. Gladieux, No. 116CV00201JTMSLC, 2017

WL 4385442, at *1 (N.D. Ind. Oct. 2, 2017). Here, as demonstrated throughout, Plaintiff and her

counsel have displayed tenacious diligence in prosecuting these claims, and while the Court could

disagree with Plaintiff’s view of the tolling effect of Judge Bucklo’s limitations clarifying Order,

it has within its sound discretion to accommodate Plaintiff’s good faith judgment that Judge

Bucklo’s Order was not a mandated, dispositive finding that destroyed an otherwise existent

limitations period.

       Furthermore, a district court is granted discretion in terms of accepting late filings, for the

court “best knows the impact the error has on the court's operation and calendar. It knows the

attorney and his motives, the circumstances of the case and the judicial economy

of excusing the neglect.” Kane v. Fin. of Am. Reverse, LLC, No. 117CV02266JMSTAB, 2018 WL

2001810, at *2 (S.D. Ind. Apr. 30, 2018). The procedural history of Plaintiff’s claims clearly

illustrates that she has, through counsel, at all times vigorously pursued and litigated these claims,

such that this Court knows the motives and circumstances of Plaintiff and undersigned counsel.

Those motives and circumstances are not in bad faith or regularly careless. In fact, Plaintiff’s

counsel has taken careful measures all along to create a clear record regarding the connection of

the claims throughout the persistent procedural turns involved, even to the point of asking Judge

Bucklo for the very clarification that is now at the core of Defendant’s misguided dismissal attack.

IV.    Conclusion

       Defendant’s untimely, disingenuous, and attenuated arguments should be rejected by this

Court. Defendant’s motion to dismiss fails and this Court should deny the motion it in its entirety

and permit Plaintiff’s claims to continue.

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Respectfully submitted,

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